Case 1:18-md-02865-LAK   Document 160-2   Filed 07/19/19   Page 1 of 3




                    Exhibit B:
           Selected Pages From SKAT
       Danske Bank Account Statement
         Case 1:18-md-02865-LAK                    Document 160-2            Filed 07/19/19             Page 2 of 3




                                                                                            Danske Bank
                                                                                            Statens Betahnger
                                                                                            Grrosroget I
                                                                                            OSOO Hole TaasruP
                                                                                            Telefon 1+45170 l2 l3 l3
                                                                                            Telefax (+451 45 l4 99 85
                                                                                            SWIFT.BIC: DABADKKK
                                                                                            www.danskebank.dklskbobs

Konto:               0025_929L2_FF1_UDB                                      Saldo pr. 30.04.2014              0,00
                     4069063330 DKK                                          Sum  havet          10.377.606.139,43
IBAN:                DK74 02L6 4069 0633 30                                  Sum  indsat          9.881.016.110,25
BIC/SWIFT:           DABADKKK                                                Saldo til overfursel -496.590.029,18
Kontohaver:          SKAT, NORDS]./ KBH
Periode:             01.05.2014 - 31.12.2015

Kontoen indqtr i Koncem Cash Pool. Oplysningeme udtrykker ikke et mellemvarende med banken.
Bogforings- Tekst                                                  BGl6b i                DKK
                                                                                   Konccrnintern
o9                                                                                                 bogfrrt saldo


I
                                                                                                                           a

rentcdato                                                                                                           DKK

                I
I                I                                                             I                      E
I                I                                                       -            I               -

I               -I                                                                    I
I               r
                -                                                                                     -

I               -I                                                                                    -

I
                                                                                 -
                -I                                                                    I               -

I
                                                                             -
                -I                                                                    I                 -

I               -I                                                                I                     -

I               -I                                                               I                      -

I               -I                                                                I                     -

I               -                                                                                       -

I               -                                                                     I                 -

I               -                                                                     I             -
I
                                                                         -
                -
                                                                                 I                  -
                -
                -                                                                                   -
Udskrift fn Bugncgs Onhnc 09:41 . 11.05.2015 af 324104'METIE TAURIDSEN                      Srde I rf 80
                                                                                                    -
                                                                                            O€oEtc Bst ay'S
                                                                                            CvR.r 6l l2 62 48. Kob.rrrom
        Case 1:18-md-02865-LAK                          Document 160-2                Filed 07/19/19              Page 3 of 3



Bogforings- Tekst                                                                     BCIOb. DKK               Koncernlntcrn
o9                                                                                                            bogfrrt saldo I
rcntcdato                                                                                                                    DKK
                                                                          EI


                                                                          a
-                 -                                                       B            -
-                                                                                                               -
-                 -                                                                    -
-                                                                         a                        I            -
-                 -                                                                        -
-                                                                         a                    I                -
-                 -
-                                                                         E!                       I            -
-                 -
-                                                                         E!                       I            -
-                 -                                                       a
-                                                                                                               -
-                 -
-                                                                         E!
                                                                                               -                -
-                 -                                                       a
-                                                                                                               -
-                 -                                                                        -
-                                                                         EI                       I            -
--                                                                        E            -
                                                                                                                -
--                                                                        a
                                                                                                                -
--
 19.05.2015 D8T.35615                                                     a         -488.269.280,93 -976.L05.265,25
-21.05.2015
--                                                                        a     --
-
                                                                                --
                                                                          B                        I-
--                                                                        a                        I-
-
--                                                                        a     --
-
--
-                                                                         EO

                                                                                               --
--
-
--                                                                                                                           I
-                                                                                   --
---                                                                       a           --
-
---
-                                                                         Et

--                                                                              -          -                             -
--                                                                        trl

--                                                                        a            -                             -
-
--                                                                                         -                         -
-E                                                                        E!

--                                                                                     -                             -
 -
 --Ud3knft fr. Buinr3s Onhnc 09:41 - rr.05.2016 af 324104't"lETTE   LAURIOSEN
                                                                                       -
                                                                                                        Srde 79 rf 80

                                                                                                                 -
